Case 5:13-cv-02110-DEW-KLH Document 1 Filed 06/24/13 Page 1 of 6 PageID #: 1




                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF LOUISIANA
                            SHREVEPORT DIVISION


   OSSIE SCOTT RHODES, ET AL                        CIVIL ACTION NO.
                   Plaintiff
                   v.                               JUDGE ________________
   CORNERSTONE HOSPITAL OF                          MAG. JUDGE ____________
   BOSSIER CITY, LLC
                          Defendants


                                  NOTICE OF REMOVAL

   TO:    THE HONORABLE JUDGES OF THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF LOUISIANA

          NOW INTO COURT, comes Defendant, Cornerstone Hospital of Bossier City,

   LLC (“Cornerstone”), and pursuant to 28 U.S.C. §1441, with full reservation of rights

   and defenses, respectfully submits this Notice of Removal of a civil action currently

   pending against it in the 26th Judicial District Court for the Parish of Bossier, State of

   Louisiana.

          In support of this removal notice, Cornerstone states:

                                               1.

          Cornerstone has been made a defendant in a civil action pending in the 26th

   Judicial District Court for the Parish of Bossier, State of Louisiana, captioned as: Ossie

   Scott Rhodes and Eugene Emmanuel Wallace, Individually and on Behalf of Their

   Mother, Fannie Scott (Deceased) v. Cornerstone Hospital of Bossier City, LLC and

                                          Page 1 of 6
Case 5:13-cv-02110-DEW-KLH Document 1 Filed 06/24/13 Page 2 of 6 PageID #: 2



   bearing Docket No.141896.

                                                2.

          Cornerstone first received notice of this suit on or about June 10, 2013, when it

   was served, through CT Corporation System, with a copy of the Plaintiffs’ Petition for

   Damages.

                                                3.

          Cornerstone did not receive notice of the lawsuit before May 24, 2013, the date

   on which Plaintiffs’ Petition for Damages was filed in state court.

                                                4.

          This removal notice is being filed within thirty (30) days of Defendant

   Cornerstone’s first receipt on June 10, 2013, though service or otherwise, of the initial

   pleading setting forth Plaintiffs’ claims for relief upon which the action is based. This

   removal notice is also being filed less than one year after suit was commenced in state

   court on May 24, 2013.       Therefore, this removal notice is timely under 28 U.S.C.

   §1446(b).

                                                5.

          Pursuant to 28 U.S.C. §1441(a), the United States District Court for the Western

   District of Louisiana (Shreveport Division) is the federal district court for the district

   embracing the place where the state court suit is pending.

                                                6.

          Defendant Cornerstone, through undersigned counsel, will serve by mail a notice

   of the filing of this removal notice to Plaintiffs and will cause a copy of this removal

   notice to be filed with the Clerk of Court of the 26th Judicial District Court for the Parish

                                            Page 2 of 6
Case 5:13-cv-02110-DEW-KLH Document 1 Filed 06/24/13 Page 3 of 6 PageID #: 3



   of Bossier, State of Louisiana, as required by 28 U.S.C. §1446(d).

                                               7.

          This Court has original jurisdiction over this suit pursuant to 28 U.S.C. §1332 and

   §1441 in that the Plaintiffs’ Petition for Damages, a copy of which is attached hereto as

   Exhibit 1, involves claims between citizens of different states and the amount in

   controversy exceeds $75,000.00, exclusive of interest and costs.

                                               8.

          Although the Plaintiffs plead no specific amount of damages in their prayer for

   relief, in conformity with Louisiana Code of Civil Procedure Article 893, Defendant

   Cornerstone reasonably believes, based on the allegations set for the Plaintiffs’ Petition

   for Damages, that the amount in controversy exceeds the jurisdictional minimum amount

   of $75,000.

                                               9.

          This lawsuit involves claims for personal injury. Plaintiffs allege that Defendant

   was negligent in the care delivered or care which should have been delivered to their

   mother, Fannie Scott, allegedly causing them to suffer general and special damages for

   pain and suffering, mental anguish, and medical expenses prior to the death of their

   mother, as well as damages for her wrongful death, survival damages and funeral

   expenses. Plaintiffs also claim loss of consortium regarding their mother.


                                               10.

          Therefore, upon information and good faith belief, Defendant believes that the

   total amount of damages claimed by Plaintiffs exceeds the jurisdictional amount of

   $75,000, exclusive of interest and costs.
                                           Page 3 of 6
Case 5:13-cv-02110-DEW-KLH Document 1 Filed 06/24/13 Page 4 of 6 PageID #: 4




                                                     11.

           The Plaintiffs’ original Petition for Damages names only one Defendant,

   Cornerstone.

                                                     12.

           Complete diversity of citizenship exists between Plaintiffs and Defendant in that:

           (a) As alleged in the introductory paragraph of the Plaintiffs’ Petition, Plaintiffs

                (Ossie Scott Rhodes and Eugene Emmanuel Wallace) are major

                domicilliaries/citizens of Minden, Webster Parish, Louisiana. Further, upon

                information and belief, the decedent (Fannie Scott) was a major

                domiciliary/citizen of Minden, Webster Parish, Louisiana;

           (b) The citizenship of a limited liability company (“LLC”) is determined by the

                citizenship of all its members. Harvey v. Grey Wolf Drilling Co., 542 F.3d

                1077, 1081 (5th Cir. 2008). Here, Cornerstone Hospital of Bossier City,

                LLC is a citizen of Delaware and Texas based on the following:

                        (1) Defendant Cornerstone Hospital of Bossier City, LLC is a

                Delaware limited liability company, and its sole member is CS Healthcare

                Louisiana, LLC. (See Exhibit 2, website printout from Delaware Secretary of

                State for Cornerstone Hospital of Bossier City, LLC; and Exhibit 3, “Joint

                Consent of Sole Member and Board of Managers in Lieu of Meeting of

                Cornerstone Hospital of Bossier City, LLC”); 1


   1       The principal business office of Cornerstone Hospital of Bossier City, LLC is located at 2200
   Ross Avenue, Dallas, Texas 75201. (See Exhibit 4, website printout from Louisiana Secretary of State for
   Cornerstone Hospital of Bossier City, LLC).
                                                Page 4 of 6
Case 5:13-cv-02110-DEW-KLH Document 1 Filed 06/24/13 Page 5 of 6 PageID #: 5



                         (2) CS Healthcare Louisiana, LLC is a Delaware limited liability

                company, and its sole member is Cornerstone Healthcare Group Holding, Inc.

                (See Exhibit 5, website printout from the Delaware Secretary of State for CS

                Healthcare Louisiana, LLC; and Exhibit 6, “Joint Consent of Sole Member

                and Board of Managers in Lieu of Meeting of CS Healthcare Louisiana,

                LLC”); 2 and

                         (3) Cornerstone Healthcare Group Holding, Inc. is a domestic

                corporation incorporated on the State of Delaware, with its principal place of

                business (i.e., where the corporation’s high level officers direct, control and

                coordinate the corporation’s activities) 3 and its corporate headquarters located

                at 2200 Ross Avenue, in Dallas, Texas 75201.4 (See Exhibit 8, Affidavit of

                Kurt Schultz, Treasurer of Cornerstone Healthcare Group Holding, Inc.;

                and Exhibit 9, website printout from Delaware Secretary of State for

                Cornerstone Healthcare Group Holding, Inc.).




   2        The principal business office of CS Healthcare Louisiana, LLC is located at 2200 Ross Avenue,
   Dallas, Texas 75201. (See Exhibit 7, website printout from Louisiana Secretary of State for CS Healthcare
   Louisiana, LLC).

   3
             For purposes of diversity of citizenship under 28 U.S.C. §1332 and §1441, “a corporation shall be
   deemed to be a citizen of every State and foreign state by which it has been incorporated and of the State or
   foreign policy where it has its principal place of business….” 28 U.S.C. §1332(c)(1). The phrase “principal
   place of business” in 28 U.S.C. §1332(c)(1) refers to the place where the corporation’s high level officers
   direct, control and coordinate the corporation’s activities. Hertz Corp. v. Friend, 130 S.Ct. 1181 (2010).

   4       The principal place of business and corporate headquarters of Cornerstone Healthcare Group
   Holding, Inc. and the principal business offices of Cornerstone Hospital of Bossier City, LLC and CS
   Healthcare Louisiana, LLC are all the same: 2200 Ross Avenue, Dallas Texas 75201. (See fns. 1 & 2,
   supra).
                                                   Page 5 of 6
Case 5:13-cv-02110-DEW-KLH Document 1 Filed 06/24/13 Page 6 of 6 PageID #: 6



                                           PRAYER

          WHEREFORE, considering the premises, Defendant Cornerstone Hospital of

   Bossier City, LLC respectfully prays that this removal notice be deemed good and

   sufficient and that the matter pending in the 26th Judicial District Court for the Parish of

   Bossier, State of Louisiana, captioned as “Ossie Scott Rhodes and Eugene Emmanuel

   Wallace, Individually and on Behalf of their Mother, Fannie Scott (Deceased) v.

   Cornerstone Hospital of Bossier City,” and bearing Docket No. 141896, be removed to

   the docket of this Honorable Court.

                                               Respectfully submitted,




                                               PAUL G. PRESTON, T.A. (Bar No. 10711)
                                               LINDA M. UZEE           (Bar. No. 18701)
                                               The Preston Law Firm, L.L.C.
                                               Mailing Address:
                                               141 Robert E. Lee Boulevard, #118
                                               New Orleans, LA 70124
                                               76 Tern Street (Street Address)
                                               Tel: 504-282-2530
                                               Fax: 504-282-2531
                                               ppreston@prestonlawfirm.com
                                               luzee@prestonlawfirm.com
                                               Attorneys for Defendant, Cornerstone
                                                     Hospital of Bossier City, LLC


                                CERTIFICATE OF SERVICE

           I hereby certify that, on June 24, 2013, a copy of the foregoing pleading has been
   electronically filed using the CM/ECF system which will provide notice to all counsel of
   record, and/or a copy has also been served on all counsel of record by email, facsimile or
   depositing same in the United States mail, properly addressed and postage prepaid.


                                                 ____________________________________
                                                             Paul G. Preston
                                           Page 6 of 6
